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                                                                                                                        DB2 / ALL
                                                                                                     Transmittal Number: 20367866
Notice of Service of Process                                                                            Date Processed: 09/10/2019

Primary Contact:           Robert B. McIntosh
                           WestRock
                           1000 Abernathy Rd
                           Ste 125
                           Atlanta, GA 30328-5639

Electronic copy provided to:                   Yvonne Kot
                                               Patricia Benjamin
                                               Phil Brown

Entity:                                       WestRock Services, LLC
                                              Entity ID Number 2864200
Entity Served:                                Westrock Services, LLC
Title of Action:                              Mercedes McNeal vs. Westrock Services, LLC
Document(s) Type:                             Notice and Complaint
Nature of Action:                             Wrongful Termination
Court/Agency:                                 Clinton County District Court, IA
Case/Reference No:                            LACV046143
Jurisdiction Served:                          Iowa
Date Served on CSC:                           09/09/2019
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           John F. Doak
                                              309-797-3000

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                             EXHIBIT A
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            IN THE IOWA DISTRICT COURT IN AND FOR CLINTON COUNTY

  MERCEDES McNEAL,

           Plaintiff,
                                                            No:   L)q C VO'LI (ol 1_l3
  V.
                                                            ORIGINAL NOTICE
        TROCK SERVICES, LLC,

           Defendant.



  TO THE ABOVE NAMED DEFENDANT: Westrock Services, LLC c/o Corporation
  Service Company, 505 — 5th Avenue, Ste. 729, Des Moines, IA 50309

           You are hereby notified that there is now on file in the office of the clerk of the

  above court, a Petition in the above-entitled action, a copy of which petition is attached

  hereto. The plaintiff's attorney is John F. Doak, Katz Nowinski P.C., whose address is

  1000 - 36t" Avenue, Moline, IL 61266-0950, telephone: 309-797-3000, fax: 309-797-

  2167, E-mail: jdoak@katzlawfirm.com

           You are further notified that unless, within twenty (20) days after service of this

  Original Notice upon you, you serve, and within a reasonable time thereafter file, a

  motion or answer in the Iowa District Court for Scott County, at the county courthouse in

  Davenport, Iowa, judgment by default will be rendered against you for the relief

  demanded in the Petition.

  (SEAL)
                                                      CLERK OF THE COURT
                                                      Clinton County Courthouse
                                                      Clinton, Iowa
  If you require the assistance of auxiliary aids
  or services to participate in court because of a
  disability, immediately call your district ADA
  coordinator at 563/328-4145. (If you are hearing
  impaired, call Relay Iowa TTY at 1-800-735-2942.)
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                                                                                Case"°.     LACV046143
    STATE OF IOWA JUDICIARY
                                                                                County      Clinton

    CaseTitle     MERCEDES MCNEAL VS. WESTROCK SERVICES, LLC

        THIS CASE HAS BEEN FILED IN A COUNTY THAT USES ELECTRONIC FILING.
    Therefore, unless the attached Petition and Original Notice contains a hearing date for your appearance, or unless you obtain an
    exemption from the court, you must file your Appearance and Answer electronically.


    You must register through the lowa Judicial Branch website at htto:l/www.iowacourts.state.ia.us/Efile and obtain a log in and
    password for the purposes of filing and viewing documents on your case and of receiving service and notices from the court.


    FOR GENERAL RULES AND INFORMATION ON ELECTRONIC FILING, REFER TO THE IOWA COURT RULES CHAPTER
    16 PERTAINING TO THE USE OF THE ELECTRONIC DOCUMENT MANAGEMENT SYSTEM:
    hftD://WWW.iowacourts.state.ia.us/Efile


    FOR COURT RULES ON PROTECTION OF PERSONAL PRIVACY IN COURT FILINGS, REFER TO DIVISION VI OF IOWA
    COURT RULES CHAPTER 16: http://www.iowacourts.state.ia.uslEfile




    Scheduled Hearing:




    If you require the assistance of auxiliary aids or services to participate in court because of a disability, immediately call your district
    ADA coordinator at (563) 328-4145 .(If you are hearing impaired, call Relay lowa TTY at 1-800-735-2942.)


    Datelssued      08/28/2019 02:36:20 PM




    District Clerk of   Clinton                   County

    /s/ Debora Taplin
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            IN THE IOWA DISTRICT COURT FOR CLINTON COUNTY


MERCEDES McNEAL,                                 )
                                                 )
       Plaintiff,                                )
                                                 )     No:LACVU4Ce 10
V.                                               )
                                                 )     PETITION AT LAW
WESTROCK SERVICES, LLC,                          )
                                                 )
      Defendant.                              )



      Plaintiff, Mercedes McNeal, by and through her attorneys, Katz Nowinski, P.C.,

for her Petition at Law against the Defendant, WESTROCK SERVICES, LLC, states:

                           VIOLATION OF IOWA CODE & 730.5

1.    Plaintiff Mercedes McNeal ("Plaintiff" or "Ms. McNeal") is and was a citizen of

      the State of Iowa at all times relevant to this Complaint.

2.    WESTROCK SERVICES, LLC ("Defendant" or "WestRock") is and was a

      Georgia limited liability company authorized to do business in the State of Iowa

      at all times relevant to this cause of action.

3.    Plaintiff, at all times relevant to this cause of action, was employed on a full-time

      basis by Defendant at its Clinton, Iowa, location, from July 5, 2018, until she was

      terminated on March 14, 2019.

4.    On March 14, 2019, Ms. McNeal began her workday at 7:30 a.m.

5.    However, Ms. McNeal had previously requested time off starting at 8:30 a.m. on

      March 14, 2019, to take her son to a doctor's appointment, and Ms. McNeal's

      request had been approved by her supervisor, Bethany Frasier, the week before.




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6.      Ms. McNeal's son has an iron deficiency that requires him to see a doctor twice a

        month.

7.      Ms. McNeal was leaving her work area for her son's doctor's appointment when a

        WestRock human resources representative named Deb H. (hereinafter "Deb")

       stopped Ms. McNeal's departure and informed Ms. McNeal that she had to

       undergo a random drug test.

8.     Ms. McNeal informed Deb that she was leaving for her son's doctor's

       appointment, and that she had been given permission to do so.

9.     Nonetheless, Deb told Ms. McNeal, "You have to come upstairs now."

10.    Two human resource representatives of WestRock informed Ms. McNeal that she

       could not leave because, pursuant to the company policy, Ms. McNeal was

       required to submit to a drug test, and if she did not provide an adequate sample,

       Ms. McNeal would be subject to immediate termination.

 11.    The second human resources representative, Jaime Naughton, asked Ms. McNeal

        if not providing an adequate urine sample was worth losing her job.

12.     Ms. McNeal informed Deb and Jaime that she had no choice, as she had to take

        her son to his doctor's appointment, and she was going to leave to do just that.

13.     WestRock, by and through its agents and human resource representatives

        terminated Ms. McNeal on March 14, 2019 for leaving to take her son to the

       son's doctor's appointment in lieu of staying to provide an adequate urine

       sample.

14.    Ms. McNeal, a then full-time employee of WestRock, had been excused from

       work pursuant to company policy prior to the drug test, as Ms. McNeal requested



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          time off the week before for her son's doctor's appointment, and her supervisor,

          Bethany Frasier, had granted that request.

   15.    Pursuant to Iowa law, Ms. McNeal was excluded from the pool of employees

          subject to drug testing during the time leave had been approved. (see Iowa Code

          730.5(8)(a)(1)-(2) )•

   16.    WestRock violated Iowa Code § 730.5(8)(a)(1)-(2) by requiring Ms. McNeal,

         who should have been excluded from the "drug testing pool," to submit to the

         drug test during her pre-approved time off and by terminating her for her failure

         to stay and provide an adequate urine sample when she had been approved for

         leave.

   17.   Ms. McNeal has suffered damages for which she seeks such affirmative relief

         and equitable relief as contemplated by Iowa Code 730.5(15) including lost wages

         and benefits, loss of employment (for which she seeks reinstatement, or

         alternatively, front pay), compensatory damages including emotional distress and

         loss of enjoyment of life, prejudgment interest on all amounts as allowed by Iowa

         law, attorney's fees and costs, including expert witness fees.



         WHEREFORE, Mercedes McNeal hereby requests that this Court enter judgment

  in her favor and against WESTROCK SERVICES, LLC, for affirmative relief including

  back wages and benefits, loss of employment, reinstatement or front pay, compensatory

  damages, plus prejudgment interest and the costs of the action, and an amount equal to

  reasonable attorneys' fees and court costs, including expert witness fees, pursuant to §




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730.5(15)(a)(1), and that the court grant such other and further equitable relief as the

court deems necessary and appropriate.




                                                   Mercedes McNeal,
                                                   Plaintiff,




                                                   J"ohn F. Doak, No. 0002143
                                                   Katz Nowinski P.C.
                                                   Attorneys for Plaintiff
                                                   1000 36th Avenue
                                                   Moline, IL 61265
                                                   Telephone: (309) 797-3000
                                                   Facsimile: (309) 797-3330
                                                   Email: jdoak@katzlawfirm.com




PLAINTIFF SEEKS A TRIAL BY JURY




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              IN THE IOWA DISTRICT COURT FOR CLINTON COUNTY


 MERCEDES McNEAL,                             )
                                              )
        Plaintiff,                            )
                                              )      No:   LACl/0q(P1y.3
 V.                                           )
                                              )
 WESTROCK SERVICES, LLC,                      )
                                              )
        Defendant.                            )


                                    JURY DEMAND


        Now comes the plaintiff, Mercedes McNeal by and through her attorneys, Katz

 Nowinski P.C. and hereby seeks a trial by jury in the above referenced matter.



                                             MERCEDES McNEAL,
                                             Plaintiff




For:
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